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                                     discharge waived Page 1 of 1

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA




In re:
                                                                                       Case No: 15−42460
PAUL HANSMEIER

Debtor(s)                                                                                  Chapter 7 Case




                          NOTICE TO CREDITORS: DISCHARGE WAIVED


TO: All creditors and other parties in interest:
The discharge of PAUL HANSMEIER has been waived.


Dated: 1/4/18                                      Lori Vosejpka
                                                   Clerk, United States Bankruptcy Court



                                                   By: heidi
                                                   Deputy Clerk




mnbntwd 09/07/2010 − kb
